                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

           Lonnie Billard,              )           JUDGMENT IN CASE
                                        )
             Plaintiff(s),              )          3:17-cv-00011-MOC-DCK
                                        )
                 vs.                    )
                                        )
  Mecklenburg Area Catholic Schools     )
   Charlotte Catholic High School
 Roman Catholic Diocese of Charlotte,
            Defendant(s).               )

DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s September 30, 2024 Order.

                                               September 30, 2024




     Case 3:17-cv-00011-MOC-DCK Document 84 Filed 09/30/24 Page 1 of 1
